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Filed 02/26/25

Document 1

Case 1:25-cr-00217-DLI

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PP:SHP
F. #2025R00105

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
- against -
PAVEL ROSCA,
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

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COMPLAINT AND AFFIDAVIT
IN SUPPORT OF APPLICATION
FOR AN ARREST WARRANT

(8 U.S.C. § 1326(b)(2))

25-MJ- 68

VICTOR ROSARIO, being duly sworn, deposes and states that he is a Special

Agent with the United States Department of Homeland Security, Homeland Security

Investigations (“HSI”), duly appointed according to the law and acting as such.

On or about November 20, 2024, within the Eastern District of New York and

elsewhere, the defendant PAVEL ROSCA, being an alien who had previously been arrested and

convicted of an aggravated felony, and was thereafter excluded and removed from the United

States, and who had not made a re-application for admission to the United States to which the

Secretary of the Department of Homeland Security, successor to the Attorney General of the

United States, had expressly consented, was found in the United States.

(Title 8, United States Code, Section 1326(b)(2))
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The source of your deponent’s information and the grounds for his belief are as
follows:!

1. lam a Special Agent with HSI and have been involved in the investigation
of numerous cases involving illegal reentry of aliens. I am familiar with the facts and
circumstances set forth below from-my participation in the investigation; my review of the
United States Immigrations and Customs Enforcement (“ICE”) and HSI investigative files,
including the defendant’s criminal history record; and from reports of other law enforcement
officers involved in the investigation. Where I describe the statements of others, | am itis sO
only in sum and substance and in part.

2. On or about November 20, 2024, the defendant PAVEL ROSCA’s vehicle
was stopped by officers from the New York City Police Department (“NYPD”) for failure to
yield. I have reviewed the body-worn camera footage from the traffic stop, and positively
identified the subject of the stop as ROSCA. A comparison of a known image of ROSCA from
an immigration encounter in 2016 and an image of the subject of the stop, who provided his

name as “Pavel Harea,” are below:

! Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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3. Lam also aware that the defendant PAVEL ROSCA has previously
utilized the alias “Pavel Harea” in an attempt to evade law enforcement. On or about February
7, 2023, an individual who provided the name “Pavel Harea” was arrested by New Jersey State
Police, charged with one count of Falsifying Records and one count of Falsely Embossing a
Purported Credit Card. On or about February 8, 2023, an ICE detainer was filed against “Pavel
Harea” after the biometric fingerprint for “Pavel Harea” taken in connection with his arrest
matched ROSCA. “Pavel Harea” (who was, in actuality, ROSCA) was later released from the
Middlesex County Jail in New Jersey after state authorities did not comply with the ICE detainer.
ROSCA never reported to his court hearing for the New Jersey State Police charges and a
warrant was issued for his arrest on October 23, 2024. A photograph of ROSCA taken at the

time of his February 2023 arrest is below:

4, On or about December 23, 2024, HSI agents observed the defendant
PAVEL ROSCA at John F. Kennedy International Airport in Queens, New York. This

identification was based on the agents’ prior review of photographs of the defendant in his alien
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file and from photographs in law enforcement databases regarding his prior criminal convictions
described below.

5, On or about February 19, 2025, an HSI Task Force Officer (“TFO”)
observed the defendant PAVEL ROSCA at a Bank of America ATM located at 2022 Avenue U,
Brooklyn, NY 11229. The TFO observed ROSCA leave the Bank of America location and
enter the driver’s side of a vehicle. This identification was based on the agents’ prior review of
photographs of the defendant in his alien file and from a review of the body-worn camera
footage described above,

6. According to criminal history and immigration databases, the defendant
PAVEL ROSCA is a citizen of Moldova, has an aggravated felony conviction, and has
previously been deported from the United States. Specifically, I found that ROSCA was
convicted on or about March 15, 2012, of Conspiracy to Commit Access Device Fraud, in
violation of 18 U.S.C. §§ 1029(a)(1), (a)(4), and (b)(2), in the United States District Court for the
District of Maryland. As part of his agreement to plead guilty, ROSCA stipulated that the loss
resulting from his scheme exceeded $10,000. ROSCA was sentenced to time served on or about
May 10, 2012, was ordered removed on or about June 5, 2012, and was removed from the United
States on or about June 14, 2012.

7. On or about October 30, 2016, the defendant PAVEL ROSCA attempted
to enter the United States from Mexico through the San Ysidro Port of Entry by presenting an
altered U.S. passport. Immigration officials suspected that ROSCA was not the proper owner of
the passport. ROSCA subsequently admitted that he was not a citizen of the United States and

had been previously deported in 2012. ROSCA was found inadmissible, and an order of
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removal was entered against him on or about November 2, 2016. ROSCA was subsequently
deported on or about December 22, 2016.

8. A search of immigration records has revealed that there exists no request
by the defendant PAVEL ROSCA for permission from either the United States Attorney General
or the Secretary of the Department of Homeland Security to re-enter the United States after
removal.

WHEREFORE, your deponent respectfully requests that the defendant PAVEL
ROSCA be dealt with according to law.

I further request that the Court issue an order sealing, until further order of the
Court, all papers submitted in support of this application, including the affidavit and arrest
warrant. Based upon my training and experience, I have learned that criminals actively search
for criminal affidavits and arrest warrants via the internet. Therefore, premature disclosure of
the contents of this affidavit and related documents will seriously jeopardize the investigation,
including by giving targets an opportunity to flee or continue flight from prosecution, destroy or
tamper with evidence, and change patterns of behavior.

/s/ Victor Rosario

VICTOR ROSARIO

Special Agent

United States Department of Homeland Security,
Homeland Security Investigations

Sworn to before me via telephone on this
26th day of February, 2025

THE HONORABLE ROBERT M. LEVY
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

